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                                             May 31, 2022

  Via ECF

  The Hon. Robert J. Kugler                             Special Master the Hon. Thomas Vanaskie
  United States District Judge                          Stevens & Lee
  USDC, District of New Jersey                          1500 Market Street, East Tower, 18th Floor
  Mitchell H. Cohen Building & U.S. Courthouse          Philadelphia, PA 19103
  4th & Cooper Streets, Room 1050
  Camden, NJ 08101

         Re:     In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                 USDC, District of New Jersey, No. 1:19-md-2875-RBK-KMW

  Dear Judge Kugler and Judge Vanaskie:

         I write on behalf of the Defendants’ Executive Committee to provide Defendants’ positions

  with respect to the topics on the agenda for the conference with the Court on Wednesday, June 1,

  2022. Defendants do not anticipate that any of the items on the agenda will require confidentiality.

  In light of the significance of the topics on this agenda, however, Defendants respectfully request

  that the Court conduct tomorrow’s Conference via Zoom.

     1. Case Management Plan

         On May 19, Plaintiffs sent defense counsel a letter proposing that the parties exchange

  expert reports on what they term “liability” issues, followed by Daubert briefing with respect to

  those experts. The letter further proposed that the parties file dispositive motions, apparently with

  respect to these so-called liability issues, although the letter was not clear on that point.

  Additionally, Plaintiffs have proposed deadlines for the filings of Answers and Cross-Claims and

  for discovery with respect to losartan and irbesartan claims.
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          The parties held a meet-and-confer on Friday, May 27, at which time Plaintiffs confirmed

  that they are defining “liability” as questions related to Defendants’ alleged misconduct, rather

  than actual liability to a particular plaintiff. Plaintiffs further stated that they intend for the parties

  to file motions with respect to “all cases” or the three class action “Master Complaints.” In

  response, Defendants expressed concerns that isolating a defendant’s alleged misconduct from

  other elements of Plaintiffs’ various causes of action would be improper (and inefficient) and that

  the Court cannot address the class claims while the scope of any potential classes remains an open

  question (particularly given Defendants’ strong position that certifying a class would be highly

  improper).

          For these reasons, Defendants proposed, in the alternative, that the parties work up 14

  personal injury cases and then proceed through expert reports, discovery, and Daubert motions in

  those cases. And because the Court has indicated that it does not intend to try “bellwether”

  personal injury cases, those cases could then be remanded to their home districts, trial-ready.

          Defendants further propose that the parties meet and confer on the timing of a case

  management schedule after the Court provides guidance regarding the parties’ respective

  proposals.

          Below, we discuss these issues in more detail.

          A.      Plaintiffs’ Proposal Contravenes Established Law.

          Plaintiffs’ proposal is premature and improper because: (1) the parties cannot litigate

  Defendants’ conduct in the abstract, isolated from the other elements that make up a cause of action

  and isolated from any specific case; (2) the Court cannot enter judgment for or against a class that

  has not been certified, and entering judgment on named plaintiffs’ claims would prompt unfair
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  one-way intervention; and (3) without specific cases, any summary judgment briefing would have

  to be briefed under all 50 states’ laws, which would be highly inefficient and would waste the

  parties’ and Court’s resources.

         First, Plaintiffs’ proposal to proceed on the narrow question of Defendants’ alleged

  misconduct while ignoring the remaining elements of any substantive cause of action does not

  make any sense. Plaintiffs apparently propose to brief, and have the Court decide, a question they

  term “liability.” But as Defendants understand it, they do not actually want the parties to address—

  or the Court to decide—the question whether any actual defendant is liable to any actual plaintiff

  on any actual cause of action. Instead, they want to seek partial summary judgment on the singular

  issue of Defendants’ conduct—a judgment that by itself would not decide any cause of action.

         Courts routinely reject similar efforts to “isolate the issue of potential liability-creating

  conduct from the issues of causation and damages,” often in the context of motions seeking to

  certify issues classes. Kohn v. American Housing Found., Inc., 178 F.R.D. 536, 542 (D. Colo.

  1998); see also, e.g., Ballew v. Matrixx Initiatives, Inc., No. CV-07-267-RHW, 2008 WL 4831481,

  at *3 (E.D. Wash. Oct. 31, 2018) (“The [c]ourt should not certify a class based on this broad,

  abstract question. . . . Answering this question resolves no class member’s claims and only invites

  the difficult question of how to proceed once the question is answered.”). As these courts have

  recognized, issues like causation and damages are “integral parts of any cause of action,” and “the

  [so-called] liability issue cannot be decided in the abstract.” Kohn, 178 F.R.D. at 542-43.

  Moreover, deciding one discrete issue offers essentially no efficiency benefit. If Defendants were

  found to have committed misconduct, the parties would still have to prepare for and hold

  complicated class trials on all the remaining elements of the various causes of action. And any
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  minimal efficiency benefits that did exist would be purchased at the price of fairness to Defendants,

  since any misconduct ruling in Plaintiffs’ favor might “constitute an invitation to make claims not

  previously contemplated.” Id. at 453.

         Second, Plaintiffs’ proposal is further improper because it calls for the parties to submit to

  dispositive motion practice on “all the cases” or “the Master Complaints” before any class has

  been certified. At the risk of stating the obvious, the Court has no authority to enter judgment

  either for or against a class that has not been certified. The unnamed individuals that make up the

  overwhelming majority of the putative classes are not parties before the Court—and may never

  be. Therefore, unless and until a class is certified, they are not bound by this Court’s judgments,

  whether for better or for worse. See, e.g., Koehler v. USAA Cas. Ins. Co., No. 19-715, 2019 WL

  4447623, at *3 (E.D. Pa. Sept. 17, 2019) (“until a class is certified, absent members of the class

  are not bound by a ruling on the merits”); In re Fine Paper Litig. State of Wash., 632 F.2d 1081,

  1087 (3d Cir. 1980) (“until [a certification] order is filed, the members of the [putative] class are

  not bound by any judgment”).

         If what Plaintiffs actually mean is that the Court should rule on the claims advanced by

  certain individual named plaintiffs prior to a class certification ruling, such an approach is barred

  by the rule against “one way intervention.” That rule protects defendants from precisely this

  scenario—i.e., “where the members of a class not yet certified can wait for the court’s ruling on

  summary judgment and either opt in to a favorable ruling or avoid being bound by an unfavorable

  one.” Villa v. San Francisco Forty-Niners, Ltd., 104 F. Supp. 3d 1017, 1021 (N.D. Cal. 2015)

  (citing American Pipe & Constr. Co. v. Utah, 414 U.S. 538, 547 (1974)); see Koehler, 2019 WL

  4447623, at *7 (if summary judgment were granted for plaintiffs they could “then move for
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  certification knowing that the class members w[ould] be able to take advantage of that favorable

  ruling” but if it were denied “that unfavorable decision w[ould] not bind the currently-absent class

  members” who could “try again”); Windber Hosp. v. Travelers Prop. Cas. Co. of Am., No. 3:20-

  CV-80, 2020 WL 4012095, at *1 (W.D. Pa. July 14, 2020) (declining to rule on summary judgment

  “until after the [c]ourt has ruled on a motion to certify a class” to avoid “potential unfairness to

  [d]efendant”). That is because, although “absent members of the class are not bound by a ruling

  on the merits,” the defendant may be “bound from the outset.”1 Koehler, 2019 WL 4447623, at

  *3. Put simply, proceeding to summary judgment decisions that could potentially bind Defendants

  but only a tiny portion of the putative classes would present a profoundly unfair game of “heads I

  win, tails you lose.”

          Third, even if the Court could proceed to dispositive motion practice while the class

  certification question is still pending, it would be profoundly impractical and inefficient to do so.

  Not only is the question whether any class will be certified still open, but so too are questions

  regarding the scope of any certified class or classes. Plaintiffs have proposed more than 100

  economic loss subclasses under the laws of 52 states and territories advancing a variety of legal

  theories, in addition to two medical monitoring classes under the laws of essentially every state.

  At this point, pursuant to choice-of-law rules, the parties would have to brief summary judgment

  under the disparate laws of all these states, resulting in thousands of pages of briefing.

          For all of these reasons, Plaintiffs’ proposal is premature, inefficient and contrary to law.




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    Defendants do not concede that any summary judgment ruling in favor of any named plaintiffs would bind them as
  to the claims advanced by absent class members or the putative class as a whole, but the mere possibility of “one-way
  intervention” strongly counsels against Plaintiffs’ proposal.
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         B.      Defendants’ Proposal Is Straightforward and Fair.

         In contrast to Plaintiffs, Defendants offer a straightforward proposal, similar to those

  followed in other MDL proceedings, that would be fair to both sides and move the litigation

  forward, while mindful of the Court’s desire not to try bellwether, personal injury cases in the

  MDL proceeding.

         Specifically, Defendants propose that the parties work up to 14 individual cases through

  expert discovery, after which this Court can remand those cases to their transferor courts for

  pretrial motions (summary judgment and motions in limine), while retaining other cases, or simply

  terminate the MDL proceeding.

         Defendants understand that the Court has previously indicated that it does not intend to try

  bellwether cases. Nonetheless, by fully working up certain bellwether cases in the MDL short of

  trial, the parties and the court system can enjoy the benefits of coordination with respect to issues

  such as overlapping experts. When the cases are remanded to their home districts, they will be

  ready for case-specific, state-law-specific dispositive motion and trial, providing timely resolution

  of those cases and guidance toward potential global resolution of the litigation. Other MDL courts

  have taken this approach. See, e.g., In re Nat’l Prescription Opiate Litig., MDL No. 2804, ECF No.

  2941 (N.D. Ohio Nov. 19, 2019) (attached as Ex. A) (suggesting remand in certain bellwether

  cases and stating that “the global discovery, pretrial rulings, and other litigation matters [in the

  MDL] provide a good base upon which the transferor courts can build”), remand granted, 2020

  WL 582151, at *2 (J.P.M.L. Feb. 5, 2020) (approving “strategic” “bellwether remand plan”); In

  re Welding Fume Prods. Liab. Litig., No. 1:03-CV-17000, 2007 WL 1702953, at *1 (N.D. Ohio

  2007) (discussing bellwether case to be “remanded to the . . . transferor court for trial”); see also
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  Jonathan Steinberg, The False Promise Of MDL Reform: How Mandatory Bellwether Trial

  Consent Would Further Mire Multidistrict Litig., 96 N.Y.U. L. Rev. 809, 844 (2021) (discussing

  option of “remanding the desired bellwether case and requesting a judge in the transferor

  jurisdiction take up the case”).

         The parties have already narrowed the personal injury plaintiff pool to selected 28 potential

  bellwethers. Now that initial discovery has been taken on each of these 28 potential bellwethers,

  the parties are equipped to further reduce the bellwether set to a number that can be manageably

  worked up for trial. To that end, Defendants propose to reduce the bellwethers by half. To prevent

  parties from gaming the case-selection process and to avoid preparing only the “strongest” and/or

  “weakest” cases, which would provide little useful information about the value of more typical

  ones, Defendants propose that the Plaintiffs’ Executive Committee choose seven cases from the

  Defendant-selected pool and that the Defendants’ Executive Committee choose seven from the

  Plaintiff-selected pool. Similar procedures have been regularly adopted in other MDLs. See, e.g.,

  In re Vioxx Prods. Liab. Litig., 501 F. Supp. 2d 789, 791 (E.D. La. 2007) (explaining that plaintiffs

  and defendants “were each permitted to designate for trial five bellwether cases” and then each

  “given two veto strikes” from the opposing party’s pool); In re Hydroxycut Mktg. & Sales

  Practices Litig., No. 09-md-2087 BTM(RBB), ECF No. 1110 (S.D. Cal. Mar. 19, 2012) (attached

  as Ex. B) (providing that each party will pick an equal number of trial candidates, subject to veto

  from the other side).

         Defendants’ proposal avoids all the challenges associated with the proposal that Plaintiffs

  advance. For starters, unlike the class cases, the scope of the individual personal injury cases is

  relatively well defined. Each personal injury plaintiff advances claims on his or her own behalf
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  (perhaps with a limited derivative claim for loss of consortium), and advances those claims under

  the laws of an easily ascertainable state, probably the one in which he or she was prescribed and

  ingested valsartan. Thus, the scope of the personal injury bellwether cases and the law that will

  govern them is not contingent on some future court ruling, as the class cases are. Moreover,

  because they are comparatively discrete, the personal injury cases can each be worked up in their

  entirety. Thus, the parties can address the ultimate question in each case—i.e., whether the

  Defendants are liable for causing injuries to Plaintiffs—rather than artificially isolating one portion

  of that question for advisory opinions that cannot actually dispose of any cause of action.

         In short, Defendants offer a straightforward proposal that addresses cases as a whole and

  avoids speculating about how the class cases may look months down the line.

         C.      Proposed Deadline for Filing Answers and Cross-Claims related to Valsartan

         With respect to Plaintiffs’ proposal that the Defendants be required to file answers and

  cross-claims related to valsartan by June 30, 2022, Defendants disagree that such pleadings should

  be required at this time. As an initial matter, in “discharging Defendants” of the requirement to file

  answers under the Federal Rules in CMO 2 the Court “acknowledge[d] each defendant would have

  pleaded they denied and/or lacked knowledge or information regarding the allegations in each

  complaint.” (ECF No. 72). This remains as true today as it did when the Court discharged

  Defendants of this obligation. Moreover, the Court’s anticipated rulings on the pending class

  certification motions will likely require filing of one or more amended complaints, and it would

  be inefficient to require Answers prior to resolution of the class certification motions and filing of

  any attendant amended complaints.
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         D.      Losartan and Irbesartan Discovery

         During the May 27th meet and confer, Defendants also informed Plaintiffs that they do not

  believe engaging in discovery on the losartan and irbesartan matters is an efficient use of the

  parties’ resources at this juncture. The next phase of this litigation – regardless of how the Court

  chooses to proceed in light of the competing proposals submitted above – will require significant,

  focused efforts from all parties to ready the valsartan cases for trial, whether on remand or before

  this Court. Defendants feel strongly that engaging in a second and third track of discovery will

  hamper those efforts.

         Plaintiffs have suggested that discovery is needed to engage in settlement discussions

  pertaining to the losartan and irbesartan matters, but in fact to do so would require Defendants to

  divert their focus and resources away from the ongoing settlement efforts and would further

  complicate and delay an already complex settlement process. Following a similar discovery path

  in the losartan and irbesartan matters will not put those cases in a similar posture for potential

  settlement resolution at any time in the near future. Even assuming the discovery process can be

  streamlined for these products, the valsartan matters have only arrived at this stage after more than

  three years of focused litigation. Furthermore, the losartan and irbesartan supply chains do not

  mirror the valsartan supply chain. Thus, it is not the case that the same parties can simply “ramp

  up” the discovery for these products using the same document databases and sets of corporate

  witnesses.

         Defendants will discuss internally to determine how they might more efficiently provide

  information on the losartan and irbesartan matters. However, such discovery should not shift focus

  away from the valsartan cases at this critical stage, and at a minimum the parties should meet and
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  confer further about this issue after the Court sets out the schedule for the next phase of the

  valsartan litigation.

      2. Motion for Clarification re: NDEA

          Plaintiffs have indicated that they intend to raise Defendants’ Joint Motion for Clarification

  regarding Daubert Hearing Order 1 [Dkt. 1976], as well as a potential cross motion by Plaintiffs,

  at the CMC. Defendants are uncertain as to what specific issues Plaintiffs intend to raise. As

  indicated at the April 29, 2022 CMC, Defendants agree with Plaintiffs that the issue raised in

  Defendants’ Motion can be deferred until after the resolution of Rule 23 Motions. (See Letter from

  A. Slater, Dkt. 2026 [“The Court directed the Parties to meet and confer about whether these

  motions are necessary at this time, and the Plaintiffs agree that determination of the motions is not

  currently necessary.”].) Defendants will be prepared to address any questions that the Court might

  have regarding this topic.

      3. Defendants’ Motion for Leave to File Class Certification Surreplies and Request for
         Class Certification Hearing

          Defendants filed a motion on May 20, 2022 [Dkt. 2069] (the “Surreply Motion”), seeking

  leave to file instanter four short surreply briefs narrowly focused on new arguments, new

  authorities, and new expert and factual matters raised in Plaintiffs’ reply briefs in support of

  Plaintiffs’ Motions for Class Certification, and requesting the Court set Plaintiffs’ Motions for

  Class Certification for a hearing. Plaintiffs filed a letter on May 23, 2022 [Dkt. 2070], opposing

  Defendants’ request to file surreply briefs and taking no position on the request for a hearing.

          The filing of surreply briefs is well-justified in light of Plaintiffs’ reply briefs. Local Civil

  Rule 7.1(d)(6) requires leave of the Court to file a surreply. There is ample authority supporting

  the filing of surreplies where, as in this case, Plaintiffs have submitted significant new exhibits,
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  new legal argument, and new authorities in their reply briefs, and have thereby introduced new

  issues into the class certification debate. See, e.g., Laurens v. Volvo Car USA, LLC, No.

  218CV08798JMVCLW, 2020 WL 10223641, at *6 & n.9 (D.N.J. Dec. 8, 2020); Morgan v. Rohr,

  Inc., No. 320CV00574GPCAHG, 2021 WL 4806472, at *2–3 (S.D. Cal. Oct. 14, 2021); Eldridge

  v. Cardif Life Ins. Co., 266 F.R.D. 173, 175 (N.D. Ohio 2010).

             Here, Plaintiffs’ reply briefs have introduced numerous new arguments, authorities, and

  exhibits in support of Plaintiffs’ efforts to certify more than 120 multi-state subclasses seeking

  billions of dollars of damages—many of which represent large departures from the positions

  Plaintiffs took in their opening briefs. The proposed surreplies (Exhibits 1 through 4 to the Surreply

  Motion) are short, narrow, and targeted specifically to the most critical errors, misstatements, and

  omissions contained in Plaintiffs’ replies:

             First, the Consumer Reply2 abandons Plaintiffs’ original Trial Plan and asserts no new plan

  is required, asks the Court to devise unspecified “imaginative solutions” to manageability using

  various previously unreferenced tools, proposes an entirely new and erroneous three-part standard

  to judge proposed state law groupings, relies heavily on new arguments and new authorities never

  raised in Plaintiffs’ opening brief, misstates various state laws in an attempt to challenge

  Defendants’ state-law variation appendices, misstates the facts with regard to the information

  available to trace putative class members’ VCDs to Wholesalers, and contains nearly 80 new

  exhibits, including a new supplemental expert report, a new and revised list of state law

  “groupings,” and new sample trial plans and jury instructions.

             Second, the Medical Monitoring Reply abandons Plaintiffs’ initial state law groupings and


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      This position statement uses the same capitalized terms as the Surreply Motion.
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  proposes entirely new groupings based on whether states require “present physical injury,”

  “subcellular injury,” or “no injury at all,” abandons the medical monitoring plan proposed by

  Plaintiffs’ oncology expert and proposes the Court should devise unspecified new remedies after

  classes are certified, attempts to undertake a new and separate analysis of state law variations while

  mischaracterizing numerous authorities and relying on previously uncited authorities, seeks to

  bolster Plaintiffs’ defective “Lifetime Cumulative Thresholds” by relying on previously uncited

  general causation experts, and presents 15 new exhibits.

         Third, the TPP Reply asserts a new and novel position that the Court may certify classes

  based solely on its rulings at the motion to dismiss stage and urges the Court to use Rule 23 to

  abridge, enlarge, or modify substantive state law rights and to erase state law variations in

  contravention of the Rules Enabling Act.

         A hearing on Plaintiffs’ Motions for Class Certification is also appropriate under the

  circumstances. The Court has received hundreds of pages of briefing and thousands of pages of

  appendices and exhibits, and the Court’s ruling on class certification has important implications

  for the future course of this litigation. A one-day oral argument will afford the parties an

  opportunity to present their positions, will afford the Court an opportunity to further conduct its

  rigorous analysis by having the parties address specific controversies and questions, and will create

  a more complete record on which the Court may decide class certification.

         Plaintiffs contend Defendants did not undertake sufficient meet-and-confer efforts prior to

  filing the motion, and assert Defendants have provided insufficient justification to file surreplies.

  With respect to the first objection, Defendants’ counsel conferred twice with Plaintiffs’ counsel by

  email correspondence on May 20 prior to filing the Surreply Motion, first advising Plaintiffs’
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  counsel of Defendants’ intention to file the motion and asking if it could be filed unopposed, and

  then providing a draft of the Surreply Motion when Plaintiffs’ counsel responded that they had

  been given insufficient information regarding the basis for the request. Plaintiffs’ counsel did not

  respond to the second communication. Regardless, Plaintiffs’ objection is misplaced because a

  motion for leave to file surreplies is not a discovery motion and is not subject to any duty to meet

  and confer. See Fed. R. Civ. P. 37(a)(1) (requiring meet-and-confer prior to motion to compel

  disclosure or discovery); Local Civ. R. 26.1(d)(3) (listing other discovery disputes for which there

  is a duty to meet and confer). As to the second objection, both the Surreply Motion and the

  accompanying proposed surreplies provide ample justification for Defendants’ request, as detailed

  in the above summary of Defendants’ grounds.

      4. Update Regarding Defendants’ Request for Dismissal of Paulette Silberman’s
         Medical Monitoring Claims

          Plaintiffs’ Reply Memorandum of Law in Support of the Medical Monitoring Plaintiffs’

  Motion for Class Certification [Dkt. 2059] indicated that Plaintiffs intend to dismiss Paulette

  Silberman’s medical monitoring claims. Accordingly, counsel for the Defendants prepared a notice

  of voluntary dismissal without prejudice and provided it to Plaintiffs’ counsel on May 16, 2022.

  (See Email from F. Stoy to D. Stanoch, attached as Ex. C.) Defendants request an update regarding

  the status of this dismissal.

      5. Plaintiff Fact Sheet Deficiencies and Orders to Show Cause

  Cases Addressed at the April 27, 2022 Case Management Conference:

          The Court issued 10 show cause orders returnable at the June 1, 2022 Case Management

  Conference:

      1. Charlene Mills v. Actavis, et al. – 21-cv-13611
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     2. Robert Sanford v. Aurobindo, et al. – 21-cv-20674
     3. James Larsen v. Actavis, et al. – 21-cv-18313
     4. Deborah Harris v. Aurobindo, et al. – 21-cv-6395
     5. Ulysses Payne v. Camber et al. – 21-cv-15129
     6. Jimmie Thorn v. Mylan, et al. – 20-cv-20603
     7. Betty Hall v. Torrent Inc., et al. – 21-cv-20447
     8. Marion Dennis v. Solco U.S. LLC, et al. – 20-cv-11163
     9. Chadwick Wilson v. Aurobindo Pharma, et al. – 21-cv-20624
     10. Eric Thompson v. Aurobindo Pharma, et al. – 21-cv-19973

          The Mills matter has been dismissed and that order to show cause may be withdrawn as

  moot.

          The issues in the Sanford and Larsen matters are resolved, and the show cause orders may

  be withdrawn.

          The issues in the Harris and Payne matters remain unresolved, but the parties are working

  towards a resolution and request a one-month extension of the order to show cause until the

  June 29, 2022 Case Management Conference.

          Counsel in the Thorn, Hall, and Dennis matters3 have indicated that they will voluntarily

  dismiss these cases, but as of this filing have not yet done so. Defendants will provide an update

  at the case management conference, but if these cases are still not voluntarily dismissed by that

  time, Defendants will request the Court do so at the case management conference.

          The issues in the Wilson and Thompson matters remain unresolved, and Defendants wish

  to proceed with their dismissal at the CMC.




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              All plaintiffs are represented by the Serious Injury Law Group.
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       Second Listing Cases – Order to Show Cause Requested:

              Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially

       incomplete and contain core deficiencies. Each of these cases were previously listed on the agenda

       for a prior CMC. This list was provided to Plaintiffs’ leadership on May 24, 2022, and a global

       meet and confer was held on May 27, 2022. Defendants have also been available for further

       discussion as needed. Accordingly, Defendants request that an Order to Show Cause be entered in

       each of these cases, returnable at the next case management conference, as to why these cases

       should not be dismissed.

              Defense counsel will be prepared to address the individual issues with respect to each of

       these cases, to the extent necessary, during the June 1, 2022 Case Management Conference:



           Plaintiff         Civil              Law Firm              Deficiencies                    Deficiency
                            Action                                                                    Sent
                             No.
1.     Tommy Benton         21-cv-      Serious Injury Law Group         Largely deficient PFS        4/13/22
        v. Teva et al       13858


2.      Annie Pace v.       20-cv-      Serious Injury Law Group         Largely deficient PFS        4/13/22
           Major            19170
       Pharmaceuticals,
            et al


3.     Michael Shemes       21-cv-        Law Offices of Sadaka        No response to deficiency      3/14/22
       v. Aurobindo et      20204              Associates             notice, including no records
             al.                                                       or authorizations uploaded
                                                                       and declaration not signed

4.      King v. Doe et      20-cv-        Parafinczuk Wolf, P.A       No pharmacy records                   3/19/22
              al            08814
     Case 1:19-md-02875-RMB-SAK            Document 2074         Filed 05/31/22        Page 16 of 19 PageID:
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5.      Mary Richards        21-cv-           Hollis Law Firm           Need Medical Expenses                  3/19/22
         v. ZHP et al        17150

6.     Gali Callahan v.       21 -         Law Offices of Sadaka        Substantially deficient PFS,           3/22/22
         Aurobindo         cv- 20203            Associates              no authorizations, medical
       Pharm, Ltd., et                                                  records, medical expenses,
             al.                                                        pharmacy records

7.     Margaret Tolley       21-cv-       DeGaris Wright McCall         Substantially deficient PFS,           3/21/22
         v. Mylan            10130                                      no authorizations, medical
       Laboratories et                                                  records, medical expenses,
             al                                                         pharmacy records

8.        Katherine           21 -        DeGaris Wright McCall         Substantially deficient PFS,           3/21/22
       Peyton v. Mylan     cv- 09063                                    no authorizations, medical
            et al                                                       records, medical expenses,
                                                                        pharmacy records

9.     Wayne Grubb v.      22-cv-918             Moore Law              No PFS Filed                           4/22/22
       Aurobindo et al




       First Listing Cases – Remaining Core Deficiencies:

              The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.

       This list was provided to Plaintiffs’ leadership on May 24, 2022, and a global meet and confer was

       held on May 27, 2022. Defendants have also been available for further discussion as needed. This

       is the first time these cases have been listed on this agenda. Accordingly, Defendants are not

       requesting orders to show cause with respect to any of the below cases at this time and will continue

       to meet and confer to resolve these deficiencies.



           Plaintiff         Civil               Law Firm               Deficiencies                     Deficiency
                            Action                                                                       Sent
                             No.
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1.     Leona Branch v.     22-cv-582       Levin Papantonio            Need billing records      4/22/22
         Mylan, et al

2.         Vincent         22-cv-449       Levin Papantonio            Need billing records      4/22/22
         Anderson v.
          ZHP, et al
3.         Richard          21-cv-         Robert F. Julian           Largely deficient PFS      5/16/22
         Vindigni v.         2361
        Prinston, et al.
4.     Sheldon Walker       22-cv-         Levin Papantonio            Need billing records      5/16/22
        v. Aurobindo         1372
        Pharma, et al.
5.       Angela Rue         22-cv-          Cochran Firm            Need losartan info removed   4/11/22
                             1222                                           from PFS

6.       Elie Greene        21-cv-     Serious Injury Law Group       Largely deficient PFS      5/9/22
                             2875

7.        Michael           22-cv-     Fleming, Nolen & Jez LLP        VII.A. clarity around     4/25/22
          Robinette         01148                                   radiation & chemotherapy
                                                                     treatment, amended PFS
                                                                    needs to be uploaded with
                                                                      medical expenses listed

8.     E.O. Christopher    22-cv-930        Stark & Stark              Multiple deficiencies     5/17/22
       Gallagher, et al.
        v. Hetero Labs,
           Ltd., et al.
9.     Mario Sherber v.    22-cv-208      Morgan & Morgan              Multiple deficiencies     4/19/22
       Zhejiang Huahai
       Pharmaceutical,
        Co., Ltd., et al
  Case 1:19-md-02875-RMB-SAK           Document 2074        Filed 05/31/22   Page 18 of 19 PageID:
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10.    Majorie Smith,       21-cv-    Serious Injury Law Group     No Amended PFS Filed.     4/19/22
      as Administrator      12740
       of E.O. Erskine
      Smith v. Camber
      Pharmaceuticals,
          Inc., et al.
11.    William Davis,       21-cv-    Serious Injury Law Group       Multiple deficiencies   4/19/22
      as Administrator      10767
        of E.O. Leila
      Davis v. Hetero
      Labs, Ltd., et al.
12.      E.O. Nancy        22-cv-38      Oliver Law Group            Multiple deficiencies   5/12/22
        Mastbergen v.
        Hetero Drugs,
             Ltd.
13.       Ernestine         21-cv-      Douglas and London           Need billing records    04/12/22
         Williams v.         6946
            Mylan
        Laboratories
          Ltd., et al
14.        Jeremy           22-cv-       Levin Papantonio               No PFS Filed         PFS Due -
         Darabaris v.        1048                                                            4/28/22
         Mylan et al


15.    Marilyn White        22-cv-       Parafinczuk Wolf               No PFS Filed         PFS Due -
       v. Solco et al        1251                                                            5/8/22

16.     Barbara             22-cv-       Levin Papantonio               No PFS Filed         PFS Due -
      McCullough v.          1574                                                            5/21/22
       ZHP, et al
17.    Benita King v.       22-cv-       Levin Papantonio               No PFS Filed         PFS Due -
         ZHP, et al          1628                                                            5/23/22

18.   Estate of Robert      22-cv-       Levin Papantonio               No PFS Filed         PFS Due -
      Cooper v. ZHP,         1635                                                            5/23/22
            et al
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                                          Respectfully submitted,


                                          Clem C. Trischler


  c:    All counsel of record (via ECF)
